






Opinion issued May 16, 2002 










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00258-CR

____________


ALLARATE JOHN FRANK, JR., Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the County Criminal Court at Law No. 12

Harris County, Texas

Trial Court Cause No. 1084300






MEMORANDUM  OPINION

	Appellant filed a motion to dismiss the appeal.  The motion is in writing,
signed by appellant.  We have not yet issued a decision.  Accordingly, the appeal is
dismissed.  Tex. R. App. P. 42.2(a).

	The clerk of this Court is directed to issue mandate immediately.  Tex. R. App.
P. 18.1.

PER CURIAM

Panel consists of Chief Justice Schneider, and Justices Hedges and Nuchia.

Do not publish.  Tex. R. App. P. 47.


